            Case 1:10-cv-00210-PLF Document 53 Filed 09/17/10 Page 1 of 3



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
RODNEY LAIL, et al.                  )
                                     )
            Plaintiffs,              )
                                     )   Civil Action No. 10-0210(PLF)
      v.                             )   (ECF)
                                     )
UNITED STATES GOVERNMENT, et al.)
                                     )
            Defendants.              )
____________________________________)

      DEFENDANTS’ MOTION TO ENLARGE TIME TO FILE AN ANSWER OR
            OTHERWISE RESPOND TO PLAINTIFFS’ COMPLAINT

       Pursuant to Fed. R. Civ. P. 6(b)(1), the United States Government, Federal Bureau of

Investigation and its employees, Paul Gardner, David M. Hardy, Kerry Haynes, Noel Herold,

Thomas Isabella, Jr., Michael Kirkpatrick, Thomas Marsh, Monte Dell McKee, George Skaluba,

and David Caldwell in their official and individual capacity, (“Defendants”), respectfully request

an enlargement of time to and including November 16, 2010, to file an answer or otherwise

respond to Plaintiff’s complaint. Good cause exists to grant this motion.

       1.      Plaintiffs filed their pro se complaint on or about February 5, 2010, alleging

statutory and Constitutional claims against Defendants.

       2.      Because Plaintiffs appear to be alleging constitutional claims, the individually-

named Defendants are reviewing Plaintiffs’ complaint in order to determine whether individual

capacity representation should be sought pursuant to 28 C.F.R. 50.15.

       3.      Should the Defendants determine that such representation is necessary and seek it,

this office will likely be appointed to represent them. Accordingly, Defendants respectfully

request this extension to enable this process to unfold.
            Case 1:10-cv-00210-PLF Document 53 Filed 09/17/10 Page 2 of 3



       4.      Also, the additional time is requested due to other significant workload demands,

including preparation for trial in a Title VII case, Perry v. Donovan, 07-1010 (RCL), scheduled

to commence the week of November 1, 2010.

       5.      Pursuant to LCvR 7(m), earlier today, the undersigned attempted to reach Plaintiff

Lail and confer with him regarding this motion but was only able to leave him a message. As of

this filing, the undersigned had not heard back from the Plaintiff Lail.

       WHEREFORE, Defendant respectfully requests that this enlargement be granted. A minute

order is respectfully requested.

September 17, 2010                            Respectfully submitted,


                                              RONALD C. MACHEN JR, D.C. BAR # 447889
                                              United States Attorney
                                              for the District of Columbia


                                              RUDOLPH CONTRERAS, D.C. BAR # 434122
                                              Chief, Civil Division

                                              By:       /s/
                                              KENNETH ADEBONOJO
                                              Assistant United States Attorney
                                              Judiciary Center Building
                                              555 4th Street, N.W. – Civil Division
                                              Washington, D.C. 20530
                                              (202) 514-7157




                                                 2
          Case 1:10-cv-00210-PLF Document 53 Filed 09/17/10 Page 3 of 3



                                 CERTIFICATE OF SERVICE

       I certify that on this 17th day of September 2010, I caused the foregoing Defendant’s

Motion to Enlarge Time to File Answer or Otherwise Respond to Complaint to be served on

Plaintiff via first-class mail postage prepaid to:

Rodney Lail
P.O. Box 2753
Myrtle, Beach, SC 29578

                                                      /s/
                                               KENNETH ADEBONOJO
                                               Assistant United States Attorney
                                               Judiciary Center Building
                                               555 4th Street, N.W. – Civil Division
                                               Washington, D.C. 20530
                                               (202) 514-7157
                                               (202) 514-8780 (facsimile)
